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                                  August 4, 2023

VIA E-FILING
The Honorable Colm F. Connolly
J. Caleb Boggs Federal Building
844 N. King Street
Unit 31, Room 4124
Wilmington, DE 19801-3555

            Re:    CareDx, Inc. v. Natera, Inc.
                   C.A. No. 19-cv-662-CFC

Dear Chief Judge Connolly:

       Pursuant to Your Honor’s Orders (D.I. 375, 376, and 378), attached are the
parties’ proposed Final Judgment (Exhibit A) and Stipulated Order regarding
injunctions (Exhibit B).

      We are available at the Court’s convenience should Your Honor have any
questions.


                                            Respectfully submitted,

                                            /s/ Brian E. Farnan

                                            Brian E. Farnan

cc: Counsel of Record (Via E-Filing)




   919N. MARKET STREET, 12TH FLOOR, WILMINGTON, DE 19801
PHONE: (302) 777–0300·FAX: (302) 777–0301·WWW.FARNANLAW.COM
